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                        UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,

           Plaintiff,

     vs.
                                      Case No. 1:18-cr-00258-EJL
PAVEL BABICHENKO,
GENNADY BABITCHENKO,
PIOTR BABICHENKO,
TIMOFEY BABICHENKO,                   GOVERNMENT’S UNOPPOSED
KRISTINA BABICHENKO,                  MOTION FOR COMPLEX CASE
NATALIE BABICHENKO,                   DESIGNATION PURSUANT TO
DAVID BIBIKOV,                        18 U.S.C § 3161(h)(7)(ii) AND TRIAL
ANNA IYERUSALIMETS,                   CONTINUANCE
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

           Defendants.




GOVERNMENT’S MOTION FOR
COMPLEX-CASE DESIGNATION—1
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      The United States of America, by and through, Bart M. Davis, United States

Attorney for the District of Idaho, and the undersigned Assistant United States

Attorney for the District of Idaho, hereby seeks an order, pursuant to 18 U.S.C.

§ 3161(h)(7)(ii), designating the present case as complex given the nature of the

prosecution, number of defendants, as well as voluminous discovery.

                               Statutory Framework

      The Speedy Trial Act establishes a temporal framework for ensuring a

criminal defendant’s constitutional right to a speedy trial, as well as the public’s

interest in prompt criminal proceedings. See 18 U.S.C. § 3161. Pursuant to the Act,

a criminal trial must commence within seventy days of the filing of the indictment,

information, or the defendant’s appearance, whichever occurs last. See id.

§ 3161(c)(1). The Act recognizes several bases for extending this seventy-day

period, such as the filing of motions requiring a hearing and appointment of new

defense counsel. Id. § 3161(h)(7). Most cases, therefore, involve a period of delay

caused by common pleadings, such as dispositive motions. In addition to these

common types of delay, the Act also accommodates less-common delay caused by an

unusually complex case. Section 3161(h)(7)(ii) recognizes that an ends-of-justice

delay may be appropriate when:

      the case is so unusual or so complex, due to the number of defendants,
      the nature of the prosecution, or the existence of novel questions of fact
      or law, that it is unreasonable to expect adequate preparation for
      pretrial proceedings or for the trial itself within the time limits
      established by this section.

18 U.S.C. § 3161(h)(7)(ii).


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      Under Ninth Circuit precedent interpreting this section, a case is

sufficiently complex when the matter involves multiple defendants, multiple

counts of complex wire-fraud charges, voluminous discovery, and witnesses

“from both within and outside of Idaho.” See United States v. Butz, 982 F.2d

1378, 1381 (9th Cir. 1993). Those complexities and more are present here.

                                    Discussion

      On Tuesday, August 14, 2018, a federal grand jury returned a thirty-four

count indictment charging ten defendants with conspiracy to commit wire fraud,

mail fraud, conspiracy to traffic in counterfeit trademarked goods, and money

laundering conspiracy in connection with their online sale of counterfeit cellphones

and accessories. (ECF 1.)

      Defendants operated a multi-million dollar scheme wherein they sold

thousands of cellphones and cellphone accessories on Amazon.com and eBay.com,

which they misrepresented as new and genuine Apple and Samsung products. The

defendants traveled to Hong Kong and China to purchase counterfeit cellphones

and cellphone accessories in bulk from Hong Kong manufacturers. Once shipped,

the defendants then repackaged the counterfeit goods in the Treasure Valley and

then individually resold the goods to consumers online as genuine and new. Based

on their investigation, federal agents estimate that the defendants were selling

hundreds of counterfeit items each day. The defendants have been operating this

fraudulent scheme for the past ten years and used sophisticated means to evade

detection.



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       Like the fraudulent scheme, the investigation has been complex and lengthy.

This multi-agency investigation has resulted in over 400,000 pages in discovery—

most of which was only recently produced to defense counsel. Additional,

voluminous discovery is likewise forthcoming from the simultaneous execution of

ten search warrants related to the defendants’ homes and workplaces.

       Simply, both the nature of the fraudulent scheme and the prosecution are

complex. The scheme involves the ten named defendants and many more

unindicted coconspirators, both locally and abroad. The indicted charges raise

complex legal issues sounding in intellectual property violations. And the

investigation has resulted in significant amounts of discovery—some of which

requires translation. The culmination of each results in a case too complex to

adhere to the usual seventy-day trial period established by the STA. See United

States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (finding complex a case

involving “voluminous discovery, a large number of counts, several defendants,

ongoing investigations in other districts, and potential witnesses from other

countries.”).

       On October 19, 2018, defense counsel1 convened, agreed on a lengthy

continuance based on the complexities of the case, proposed that the trial be reset to

October 1, 2019, and proposed that the Court conduct status conferences every sixty

(60) days until trial. The government agrees with this timeframe and request for

status conferences in the interim. Such procedures have been implemented in



1      Counsel for each defendant met except Artur Pupko’s counsel.
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complex cases before this Court. See Order Designating Case as Complex Under

Speedy Trial Act, United States v. Kurbanov, 1:13-cr-00120-EJL, ECF 26 (D. Idaho

2013).

                                    CONCLUSION

         Accordingly, the Government respectfully requests that the Court find this

matter complex pursuant to 18 U.S.C. § 3161(h)(7)(ii), reset the trial to October 1,

2019, and conduct status conferences every sixty (60) days until trial.

                            Respectfully submitted this 22nd day of October, 2018.



                                             BART M. DAVIS
                                             UNITED STATES ATTORNEY
                                             By:


                                             /s/ Katherine L. Horwitz
                                             KATHERINE L. HORWITZ
                                             Assistant United States Attorney




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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on October 22, 2018, the foregoing

GOVERNMENT’S UNOPPOSED MOTION FOR COMPLEX CASE DESIGNATION

AND TRIAL CONTINUANCE was electronically filed with the Clerk of the Court

using the CM/ECF system, and that a copy was served on the following parties or

counsel by ECF filing:

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GOVERNMENT’S MOTION FOR
COMPLEX-CASE DESIGNATION—7
